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DECLARATION OF ZAN NORTHRIP

I, Zan Northrip, declare as follows:

1. I am the Executive Vice President for Development Consulting at DAI Global,
LLC (DAI). The statements made in this declaration are based on my personal knowledge and
my understanding of information made available to me pursuant to my duties at DAI.

2. DAI is an employee-owned global development company headquartered at 7600
Wisconsin Avenue in Bethesda, Maryland. DAI was founded in 1970 and has been a trusted
partner of the U.S. government, especially USAID, for more than 50 years, delivering successful
projects in more than 150 countries.

3; USAID has not yet made payments on $115 million in invoices for services that
DAI rendered in the months of November, December, and January. Of this amount, over $70
million is more than 30 days past due. Additionally, DAI has repeatedly been attempting to draw
down approximately $20 million in necessary operating and/or close-down expenses on its
USAID-funded cooperative agreements. None of these requests have been fulfilled, except for
one small Indonesia-based project funded by the U.S. Department of Labor.

4, In sum, DAI has not received any payments from USAID or the State Department
since before January 24, 2025.

5. On February 16, 2025, DAI received an email from a Supervisory Contracting
Officer at USAID stating that they were “awaiting internal guidance on the temporary
restraining order which I anticipate will arrive by Tuesday.” See Email from Nya Kwai Boayue
to Nathalie Augustin (Feb. 16, 2025) (attached as Exhibit A). The Supervisory CO then noticed
that, “[w]ith regard to payment, the mission has flagged payment issues for Washington and are

working to resolve these issues.” Id.
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6. On February 18, 2025 (5 days after the TRO was issued), DAI received an email
from a Regional Contracting and Agreement Officer at USAID. She wrote, “USAID is aware of
delays in the payment systems’ ability to process payments. Please consider the financial
implications or risks of restarting work at this time as well as a realistic timeline in doing so.”
See Email from Amy Larsen to Linda Jarrett (Feb. 18, 2025) (attached as Exhibit B). She also
wrote that “We are currently in the process of understanding how this [TRO] will impact our
awards and are hopeful to share additional guidance soon.” Jd.

7. On February 18, 2025, one of my team members shared with me a screen shot of
messages that this team member had exchanged with an experienced USAID official through a
secure channel.

8. The exchange concerned recent, post-TRO revisions to USAID’s process for
paying its implementing partners (IPs). The following are direct quotes from the Official’s
exchange with my team member. Where necessary, bracketed text is used to protect the
Official’s identity:

USAID Official: Process appears to be regional hubs in Jordan, Ghana, S. Africa, San
Salvador, and Bangkok

USAID Official: Missions send out voucher with each individual payment voucher
request

USAID Official: Ken Jackson [a Political Appointee] has to approve each individually

USAID Official: | Mission saves individual approval with voucher in Mission files

USAID Official: Regional hub certifies payment

USAID Official: Ken Jackson doesn’t have warrant authority so has no legal authority to
determine allowability of costs under voucher

USAID Official: | [Anonymized USAID region] has [many hundreds of] vouchers alone.
USAID Official: No way this is a good faith attempt to pay

USAID Official: They’re dragging feet on TRO to intentionally withhold payments from
IPs
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9. Most of DAI’s work with USAID is done through contracts, and as previously
stated, DAI has not been paid for any invoices since the new Administration took office.
Additionally, DAI manages some USAID-funded cooperative agreements. Since Secretary
Marco Rubio’s ALDAC of January 24, 2025, which claimed that a waiver to the Executive
Order’s pause on disbursements was already in place for payment for prior work and for the
ongoing costs of projects under Stop Work Orders, DAI has been repeatedly requesting
drawdowns under the Letter of Credit (LOC) facilities associated with each of its USAID-
funded Cooperative Agreements. Those LOC facilities are managed through the Payment
Management System (PMS) that is administered by the Department of Health and Human
Services (HHS).

10. Prior to January 24, the way the PMS operated was that the cooperative
agreement holder would enter a periodic draw-down request for the expected operating funds
required by the project over the coming month. The system then assigned a payment expected
date of the next business day and payment statuses of “Payment Processed,” and “In Transit.”
The funds would be duly transferred on the expected payment date, with a reconciliation against
actual expenditures occurring once per quarter.

11. Since January 24, none of DAI’s requests for drawdowns against USAID
cooperative agreements have been fulfilled. Instead, DAI’s requests have repeatedly timed out,
and then we have placed the requests again. This week, the system has changed, perhaps to
present a semblance of compliance with the Court’s TRO. Funding requests are again being
statused as “Payment Processed” and “In Transit,” but the expected payment date is no longer
the following business day. Instead, they are being assigned an expected payment date of

January 24, 2026, i.e., 11 months and 4 days from today.
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12. In the following table, which shows data directly exported from PMS, none of the

payments with an expected payment date of February 19 or 20, 2025 has actually been paid, and

all of the requests in those columns are statused as “Pending Review.” We expect those requests

will time out, as they have been doing repeatedly since January 24, 2025.

Payment Expected Date

Sum of SUBACCOUNT REQUESTED AMOUN Column Labels =

219Payment 2/20 Payment ~—Jan 24, 2026

Expected date Expected date Payment Expected
Row Labels - 2/19/25 2/20/25 1/24/26 Grand Total System Status System Status date System Status
7200AA19CA00019-BANGLADESH-EG.3 $ 175,000 $ 175,000 Request in Tansit
7200AA19CA00019-ETHIOPIA-EG.3 $ 386,255 $ 388,255 Request in Tansit
7200AA19CA00019-GHANA-EG.3 $ 976,396 $ 170,694 $ 1,147,090 Pending Review Request in Tansit
7200AA19CA00019-KENYA-EG.3 $ 84,103 $ 84,103 Request in Tansit
7200AA19CA00019-REFS/FTF-P-EG.3 $ 3,000,000 $ 3,000,000 Pending Review
7200AA21CA00015-GEORGIA-PS.4 $ 313,079 $ 313,079 Requestin Tansit_ [
7200AA21CA00015-MACEDONIA-A0& $ 200,000 $ 200,000 Request in Tansit
7200AA21CA00015-MOLDOVA-EG,7 $ 625,000 $ 625,000 Request in Tansit
7200AA24CA00009-IPI/GEWE-DR.S $ 81,089 $ 81,089 Request in Tansit
72011522CA00005-CNTRL_ASIA-PS.1 $ 226,627 $ 226,627 Request in Tansit
72011522CA00005-TAJIKISTAN-PS.1 $ 18,260 $ 18,260 Request in Tansit
72026322CA00002-EGYPT-EG.12 $ 529,099 $ 217,820 $ 746,919 Pending Review Request in Tansit
72026322CA00002-EGYPT-EG.S $ 2,419,922 $ 2,419,922 Request in Tansit
72029421.CA00001-W.BANKGAZA-EG.5 $ 3,042,853 $ 3,042,853 Request in Tansit
72038824CA00004-BANGLADESH-HL.4 $ 596,769 $ 596,769 Request in Tansit
72051420CA00001-COLOMBIA-DR.2 $ 1,119,330 $ 1,119,330 Request in Tansit
72051923CA00003-ELSALVADOR-EG.6 $ 308,005 $ 308,005 Request in Tansit
72051923CA00003-ELSALVADOR-ES.2 $ 1,082,511 $ 1,082,511 Pending Review
72061222CA00006-MALAWI-ES.1 $ 181,796 $ 131,796 Request in Tansit
72061222CA00006-MALAWI-HL.1 $ 200,000 $ 200,000 Request in Tansit
72061222CA00006-MALAWI-HL.6 $ 400,000 $ 400,000 Request in Tansit
72061222CA00006-MALAWI-HL.7 $ 177,580 $ 177,550 Pending Review
72061522CA00004-KENYA-HL.8 $ 1,482,788 § 1,482,788 Request in Tansit
72064923CA00001-SOMALIA-DR.2 $ 832,159 $ 832,159 Requestin Tansit
72064923CA00001-SOMALIA-DR.4 $ 378,177 $ 378,177 Request in Tansit
72067019CA00001-LIBYA-DR.2 $ 1,533,423 $ 1,533,423 Request in Tansit
72068520CA00008-SENEGAL-EG.3 $ 649,499 $ 649,499
72068724CA00003-MADAGASCAR-EG.10 $ 356,821 $ 13,549 $ 370,370 Pending Review  Requestin Tansit
72068724CA00003-MADAGASCAR-EG.13 $ 175,193 $ 175,193 Pending Review
Grand Total $ 529,099 $ 5,768,471 $ 15,608,197 $ 21,905,767.

13. All other draw-down requests are more recent, and they have been statused as

“Payment Processed” and “In Transit,” but have been assigned an expected payment date of

January 24, 2026.

14. Based on my experience, USAID has had payment integrity protocols in place for

years, which have resulted in positive IG reports and a performance level in terms of avoiding

improper payments that is among the best across U.S. Government agencies.

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15. USAID’s attention to its own payments is extended to USAID’s partners through
an extremely high level of audits, all of which are external and performed either by DCAA or an
independent third-party auditor of the government’s choosing. One hundred percent of DAI’s
billed indirect costs are audited annually at our corporate level, and anywhere from 25 to 50
percent of DAI’s direct costs on USAID projects are audited at the project level in a typical year.

16. In our available records of project specific audits and indirect cost audits, DAI
has been audited on $5.9 billion in total costs in its U.S. Government business in recent years.
Through these audits, only $446,000 was deemed to be unallowable — less than 0.008% of total

audited costs — and we promptly repaid the Government for those errors.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on February 20, 2025, in Bethesda, Maryland

Zant Northrip

Executive Vice President
DAI Global, LLC

